           Case:22-12059-KHT Doc#:38 Filed:06/30/22                                                   Entered:06/30/22 23:06:15 Page1 of 38

 Fill in this information to identify the case:

 Debtor name          5280 Auraria, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)              22-12059
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Auraria Stub LLC                              Describe debtor's property that is subject to a lien              $4,500,000.00           $65,000,000.00
        Creditor's Name                               1051 14th Street, Denver, CO 80202 and 1405
        c/o Judah A. Zelmanovitz,                     Curtis Street, Denver, CO 80202
        Esq.
        Fink & Zelmanovitz, P.C.
        3839 Flatlands Avenue,
        Suite 206
        Brooklyn, NY 11234
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        12/23/2019                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    DB Auraria LLC                                Describe debtor's property that is subject to a lien            $51,118,238.11            $65,000,000.00
        Creditor's Name                               1051 14th Street, Denver, CO 80202 and 1405
        1345 Avenue of the                            Curtis Street, Denver, CO 80202
        Americas, 46th Floor
        New York, NY 10105
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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 Debtor       5280 Auraria, LLC                                                                         Case number (if known)     22-12059
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Redi Carpet Sales of Colorado
 2.3                                                                                                                             $84,975.20   $65,000,000.00
        Inc.                                          Describe debtor's property that is subject to a lien
        Creditor's Name

        15100 E. 40th Ave Unit A
        Denver, CO 80239
        Creditor's mailing address                    Describe the lien
                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        11/29/2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.




 2.4
        SNR Contractors &
        Associates, Inc.                              Describe debtor's property that is subject to a lien                       $15,133.80   $65,000,000.00
        Creditor's Name

        19029 Plaza Dr. #250
        Parker, CO 80134
        Creditor's mailing address                    Describe the lien

                                                      Mechanic's Lien
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        March 11, 2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                         Contingent
            Yes. Specify each creditor,                Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                             $55,718,347.11
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.



Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
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 Debtor       5280 Auraria, LLC                                                                 Case number (if known)         22-12059
              Name

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Chipman Glasser, LLC
        Jennifer M. Osgood                                                                                Line   2.2
        2000 S Colorado Blvd.
        Tower One, Suite 7500
        Denver, CO 80222

        Fortress Credit Corporation
        1345 Avenue of the Americas                                                                       Line   2.2
        46th Floor
        New York, NY 10105

        Terry Ehrlich
        Arnold & Arnold LLP                                                                               Line   2.4
        7691 Shaffer Parkway, Suite A
        Littleton, CO 80127




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         5280 Auraria, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)           22-12059
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $375.00         $375.00
           Abby Krohn                                                Check all that apply.
           1051 14th Street                                             Contingent
           Denver, CO 80202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           08/17/2021                                                Refund
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,286.90         $1,286.90
           Abdulaziz Alhassan                                        Check all that apply.
           1051 14th St.                                                Contingent
           Denver, CO 80202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           01/15/2022                                                Refund
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 35
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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Adam Hantout                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/21/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Adriana Coverdale                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/05/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,094.00    $2,094.00
          Aia Norton                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/03/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Alex Alters                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/11/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 35
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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,007.00    $1,007.00
          Alina Williams                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Allison Moorhead                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/19/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Amish Gupta                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Andrew Ens                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 35
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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Andrew Nguyen                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Anna Bergman                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Anna Hoffman                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/31/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Anna Thompson                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 35
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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Ashley Lancaster                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Audra Niermann                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,282.00    $1,282.00
          Aurelia Valente                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $75.00    $75.00
          Austin Kopp                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Austin Kraft                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/02/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,019.00    $2,019.00
          Avery Frazier                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Blake Bucca                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Brian White                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $225.00    $225.00
          Cadence Thorne                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/05/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $860.00    $860.00
          Camilah Bailey                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $350.00    $350.00
          Charles Edwards                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/14/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Charlotte Morelli                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 35
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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $350.00    $350.00
          Christian Dobao                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/07/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Connor Kercheval                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Dane Winter                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,429.00    $1,429.00
          Daniel Dugan                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/07/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $925.15    $925.15
          Danylon Reagan                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,678.00    $3,678.00
          David Ramirez                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          6/25/2021                                                  Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Diana Hilton                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $268.00    $268.00
          Donovan Velasquez Kerns                                    Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/01/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Edward Hartnett, III                                       Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          10/08/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Elise Jones                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Elliot Fell                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/13/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Emily Blehm                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Eric Hastings                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,095.00    $2,095.00
          Essam Alzahrani                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/13/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $377.00    $377.00
          Gabby Gates                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/24/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Gabrielle Jones                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Geoffrey McCloskey                                         Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/30/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,420.00    $1,420.00
          Grace Geraghty                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/23/20221                                                Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Hagen Hildebrandt                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/21/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Hailey, Morfenski                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/30/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $325.00    $325.00
          Hannah Russell                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Holly Beato                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/21                                                   Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Ian Dempsey                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/24/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,604.00    $2,604.00
          Ian Spires                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Isaac Barbernell                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Isabel Beltran                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/30/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $938.00    $938.00
          Isabella Wentland                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Jack Gilmartin                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Jacob Zaidins                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/14/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          James McGhee                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          James Russell                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/12/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Jonathan Ringman                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $790.00    $790.00
          Jorge Armendarez                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Juan Madrigal-Garcia                                       Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Juan Tovar                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Keilanie Smithee                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Kelly Zhan                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Kolby VonFeldt                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Laia Forns                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Leah Carney                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Liam Campbell                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/18/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $350.00    $350.00
          Madelyn Bistodeau                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/31/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Malcom Detlefs II                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          11/15/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Meaghan Hay                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/04/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Megan Hassler                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/11/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Melissa Mueller                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/16/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $325.00    $325.00
          Mia McDaniel                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Michael Maloney                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Mira Svoboda                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Nicholas Vay                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Noah Alejo                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Oliver Molberg                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Omar Lemus Gomez                                           Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/21                                                   Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Paul Stone                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Peter Van Wyk                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/18/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Reece King                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Risa Hirsh                                                 Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $336.50    $336.50
          Robert Fawcett                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Sara McDonald Severn                                       Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          01/05 2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $285.00    $285.00
          Shakira Oviedo                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/06/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Shelby James                                               Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          02/03/2022                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $927.00    $927.00
          Steven Bann                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/11/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Sydney Batinick                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/24/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Tanner Rogers                                              Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/14/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,355.00    $1,355.00
          Taylor Chambers                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/13/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Taylor Douglas                                             Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Terry Grace                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          09/14/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $375.00    $375.00
          Trae Beneck                                                Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor       5280 Auraria, LLC                                                                               Case number (if known)   22-12059
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $525.00    $525.00
          Triston Russell                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $400.00    $400.00
          Vanessa Wolberg                                            Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/13/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $25.00    $25.00
          Victor Lemus Gomez                                         Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          08/10/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $300.00    $300.00
          Victoria Trujillo                                          Check all that apply.
          1051 14th St.                                                 Contingent
          Denver, CO 80202                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          12/17/2021                                                 Refund
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes




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 Debtor        5280 Auraria, LLC                                                                              Case number (if known)   22-12059
               Name

 2.99       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $625.00        $625.00
            William Kingston                                         Check all that apply.
            1051 14th St.                                               Contingent
            Denver, CO 80202                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            08/17/2021                                               Refund
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.100      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $250.00        $250.00
            William Mikota                                           Check all that apply.
            1051 14th St.                                               Contingent
            Denver, CO 80202                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            10/15/2021                                               Refund
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.101      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,097.00         $1,097.00
            Wylie Strain                                             Check all that apply.
            1051 14th St.                                               Contingent
            Denver, CO 80202                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            08/12/2021                                               Refund
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes


 2.102      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                             $375.00        $375.00
            Zachary Detlefs                                          Check all that apply.
            1051 14th St.                                               Contingent
            Denver, CO 80202                                            Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            08/17/2021                                               Refund
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 Debtor       5280 Auraria, LLC                                                                       Case number (if known)            22-12059
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,352.04
          14th Street General Improvement District                              Contingent
          1515 Arapahoe Street, Tower 3, Suite 100                              Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred 02/14/2020
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number 1001
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,535.96
          Apartments.com                                                        Contingent
          2563 Collection Center Dr.                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred 03/05/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number 4881
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,516.00
          Arizona Elevator Solutions                                            Contingent
          208 South River Drive                                                 Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred 03/13/2020
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number 0201
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $624.97
          Ascentium Capital LLC                                                 Contingent
          c/o Corporation Service Company                                       Unliquidated
          1900 W. Littleton Boulevard                                           Disputed
          Littleton, CO 80120
                                                                             Basis for the claim:
          Date(s) debt was incurred 06/10/2021
          Last 4 digits of account number 3798                               Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Bees Cleaning LLC                                                     Contingent
          550 N 111Th St Apt2j                                                  Unliquidated
          Lafayette, CO 80026                                                   Disputed
          Date(s) debt was incurred      08/18/2021                          Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $301.70
          Bombas, LLC                                                           Contingent
          881 Broadway                                                          Unliquidated
          FRNT 2                                                                Disputed
          New York, NY 10003-1004
                                                                             Basis for the claim:
          Date(s) debt was incurred 08/16/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,725.00
          CBIZ MHM, LLC                                                         Contingent
          700 W 47th St Suite 1100                                              Unliquidated
          Kansas City, MO 64112                                                 Disputed
          Date(s) debt was incurred 09/13/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,642.03
          Chase                                                                 Contingent
          PO Box 6294                                                           Unliquidated
          Carol Stream, IL 60197-6294                                           Disputed
          Date(s) debt was incurred 07/27/2021
                                                                             Basis for the claim:
          Last 4 digits of account number 3160
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,153.88
          Chemsearch FE                                                         Contingent
          2727 Chemsearch Blvd                                                  Unliquidated
          Irving, TX 75062-6454                                                 Disputed
          Date(s) debt was incurred 04/29/2021
                                                                             Basis for the claim:
          Last 4 digits of account number 8237
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.51
          Citi Cards                                                            Contingent
          P.O. Box 78045                                                        Unliquidated
          Phoenix, AZ 85045                                                     Disputed
          Date(s) debt was incurred      01/02/2021                          Basis for the claim:
          Last 4 digits of account number     5224
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,038.45
          Clyde Snow & Sessions                                                 Contingent
          201 S Main St #2200                                                   Unliquidated
          Salt Lake City, UT 84111                                              Disputed
          Date(s) debt was incurred 06/15/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number 4218
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,375.35
          Colorado Doorways, Inc.                                               Contingent
          5151 Bannock St.                                                      Unliquidated
          #17                                                                   Disputed
          Denver, CO 80216
                                                                             Basis for the claim:
          Date(s) debt was incurred 08/17/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,144.09
          Constant Services, Inc.                                               Contingent
          PO Box 95                                                             Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred 03/17/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $669.78
          Denver Manager of Finance                                             Contingent
          P.O. Box 40385                                                        Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred 03/22/2022
                                                                             Basis for the claim:
          Last 4 digits of account number 2012
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $992.20
          Department of Finance Treasury Division                               Contingent
          PO Box 660860                                                         Unliquidated
          Dallas, TX 75266-0860                                                 Disputed
          Date(s) debt was incurred 12/22/2021
                                                                             Basis for the claim:
          Last 4 digits of account number 9203
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Digital Ignite LLC                                                    Contingent
          1049 Morrison Dr Ste 201                                              Unliquidated
          Charleston, SC 29403-3875                                             Disputed
          Date(s) debt was incurred 06/01/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $387.84
          Encore Electric                                                       Contingent
          7125 W Jefferson Ave                                                  Unliquidated
          Denver, CO 80235-2333                                                 Disputed
          Date(s) debt was incurred 09/25/2020
                                                                             Basis for the claim:
          Last 4 digits of account number 4783
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $720.48
          Engrain Technology, Inc.                                              Contingent
          5560 Greenwood Plaza Blvd Ste 350                                     Unliquidated
          Englewood, CO 80111                                                   Disputed
          Date(s) debt was incurred 04/22/2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,222.88
          Executive Tower Condominium                                           Contingent
          1405 Curtis Street                                                    Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred 04/01/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $642.90
          FastSigns 15301                                                       Contingent
          1650 Champa St                                                        Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred      04/13/2020                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $480.00
          Garvin's Sewer Service, Inc.                                          Contingent
          2900 S. Shoshone St.                                                  Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred 09/02/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375.00
          Grace Hill                                                            Contingent
          1051 14th St.                                                         Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred      08/17/2021                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,111.37
          HD Supply Facilities Maintenance                                      Contingent
          PO Box 509058                                                         Unliquidated
          San Diego, CA 92150                                                   Disputed
          Date(s) debt was incurred 08/13/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,752.13
          Heffernan Insurance Brokers Inc.                                      Contingent
          811 Wilshire Blvd Ste 810                                             Unliquidated
          Los Angeles, CA 90017-2638                                            Disputed
          Date(s) debt was incurred 03/25/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $141.75
          Hunter Warfield                                                       Contingent
          4620 Woodland Corporate Boulevard                                     Unliquidated
          Tampa, FL 33614                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,194.00
          IRIO, Inc.                                                            Contingent
          PO Box 734707                                                         Unliquidated
          Dallas, TX 75373-4707                                                 Disputed
          Date(s) debt was incurred 04/15/2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.59
          Jessica King                                                          Contingent
          320 Oristo Ridge Way                                                  Unliquidated
          West Columbia, SC 29170                                               Disputed
          Date(s) debt was incurred 05/04/2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.50
          Kirton McConkie                                                       Contingent
          PO Box 45120                                                          Unliquidated
          Salt Lake City, UT 84145                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,270.77
          Mereo Networks                                                        Contingent
          96 N 500 W #160                                                       Unliquidated
          Bountiful, UT 84010                                                   Disputed
          Date(s) debt was incurred      06/01/2021                          Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,643.80
          Nelson Brothers Property Management, Inc                              Contingent
          180 Avenida La Pata, 2nd Floor                                        Unliquidated
          San Clemente, CA 92673                                                Disputed
          Date(s) debt was incurred 12/1/2017
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $558,684.13
          Nelson Partners Property Management                                   Contingent
          180 Avenida La Pata, 2nd Floor                                        Unliquidated
          San Clemente, CA 92673                                                Disputed
          Date(s) debt was incurred 10/31/2018
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $163.64
          Office Sense LLC                                                      Contingent
          dba AnswerHero                                                        Unliquidated
          12855 SW 132nd St. Ste 106                                            Disputed
          Miami, FL 33186-7209
                                                                             Basis for the claim:
          Date(s) debt was incurred 06/04/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,944.03
          Osprey of Aurora, LLC
          d/b/a Servpro Denver West                                             Contingent
          Mark E. Biddison                                                      Unliquidated
          3825 Iris Avenue, Suite 100                                           Disputed
          Boulder, CO 80301
                                                                             Basis for the claim:    Complaint for Damages
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $455.00
          Parallel Ventures, Inc.                                               Contingent
          dba Mr. Appliance of Denver                                           Unliquidated
          10525 E 40th Ave Ste 202                                              Disputed
          Denver, CO 80239
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/19/2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73.30
          PeopleG2                                                              Contingent
          PO Box 844445                                                         Unliquidated
          Los Angeles, CA 90084-4445                                            Disputed
          Date(s) debt was incurred 01/27/2022
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,761.25
          Pool Doctor                                                           Contingent
          P.O. Box 150301                                                       Unliquidated
          Denver, CO 80215                                                      Disputed
          Date(s) debt was incurred      02/18/2020                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,279.08
          Real Estate Personnel, Inc.                                           Contingent
          1758 Emerson St.                                                      Unliquidated
          Denver, CO 80218                                                      Disputed
          Date(s) debt was incurred 03/13/2020
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Ring Limited                                                          Contingent
          P.O. Box 207                                                          Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred      05/29/2020                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $851.25
          RK Service                                                            Contingent
          3800 Xanthia Street                                                   Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred 7/9/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,130.75
          RT1 Restoration Services, LLC                                         Contingent
          29598 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred 08/24/2020
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,010.00
          SC Environmental                                                      Contingent
          590 Grey Squirrel Way                                                 Unliquidated
          Franktown, CO 80116-8762                                              Disputed
          Date(s) debt was incurred 07/27/2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,340.00
          SNR Contractors & Associates, Inc.                                    Contingent
          19029 E. Plaza Drive Suite 250                                        Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,340.00
          SNR Contractors & Associates, Inc.                                    Contingent
          19029 E. Plaza Drive, Suite 250                                       Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred 08/18/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,834.50
          Sorensen Entity Services LLC                                          Contingent
          1201 N Orange St. Suite 7044                                          Unliquidated
          Wilmington, DE 19801                                                  Disputed
          Date(s) debt was incurred 07/29/21
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Stanley Steemer International, INC                                    Contingent
          PO Box 205819                                                         Unliquidated
          Dallas, TX 75320-5819                                                 Disputed
          Date(s) debt was incurred 07/17/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,537.03
          Staples Advantage                                                     Contingent
          P.O. Box 660409                                                       Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred      03/28/2020                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $375.34
          T-Mobile                                                              Contingent
          PO Box 742596                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred      06/26/2021                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,908.65
          The Curtis Hotel                                                      Contingent
          1405 Curtis Street                                                    Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred      12/1/2020                           Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,444.74
          The Premier Group Staffing LLC                                        Contingent
          600 S. Broadway                                                       Unliquidated
          Denver, CO 80209
                                                                                Disputed
          Date(s) debt was incurred 08/31/2020
                                                                             Basis for the claim:    Mechanic's Lien
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $292,660.97
          TK Elevator (Thyssenkrupp)                                            Contingent
          3100 Interstate North Circle SE                                       Unliquidated
          Ste. 500                                                              Disputed
          Atlanta, GA 30339-2227
                                                                             Basis for the claim:    Suppliers or Vendors
          Date(s) debt was incurred 08/12/2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $234,895.37
          Trimont Real Estate Advisors                                          Contingent
          One Alliance Center                                                   Unliquidated
          3500 Lenox Rd NE Suite G1                                             Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:    Suppliers or Vendors
          Date(s) debt was incurred 10/28/2921
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,262.69
          Tryg Group, LLC                                                       Contingent
          1051 14th Street                                                      Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred      07/06/2021                          Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $774.00
          Tschetter Hamrick Sulzer                                              Contingent
          3600 S. Yosemite St., Ste 828                                         Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred 12/31/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Uloop Inc.                                                            Contingent
          13157 Ludlow Ave                                                      Unliquidated
          Huntington Woods, MI 48070                                            Disputed
          Date(s) debt was incurred 07/05/2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,490.46
          Windstream                                                            Contingent
          P.O. Box 3177                                                         Unliquidated
          Cedar Rapids, IA 52406-3177                                           Disputed
          Date(s) debt was incurred 08/01/2021
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,765.63
          Winstar Marketing                                                     Contingent
          12400 W Hwy 71 Suite 350-345                                          Unliquidated
          Austin, TX 78738                                                      Disputed
          Date(s) debt was incurred 04/27/2020
                                                                             Basis for the claim:    Suppliers or Vendors
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       5280 Auraria, LLC                                                                       Case number (if known)            22-12059
              Name

 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,202.15
           Xcel Energy                                                          Contingent
           PO Box 9477                                                          Unliquidated
           Minneapolis, MN 55484-9477                                           Disputed
           Date(s) debt was incurred 08/10/2021
                                                                             Basis for the claim:    Suppliers or Vendors
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,273.61
           Xerox Financial Services LLC                                         Contingent
           518 17th St #400                                                     Unliquidated
           Denver, CO 80202                                                     Disputed
           Date(s) debt was incurred 09/30/2020
                                                                             Basis for the claim:    Suppliers or Vendors
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        56,748.55
 5b. Total claims from Part 2                                                                            5b.   +    $                     1,666,532.54

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,723,281.09




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